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                                UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF INDIANA
                                          FORT WAYNE


IN THE MATTER OF:                                    )
                                                     )
RYAN A BRITE                                         ) BANKRUPTCY CASE NUMBER: 17-11735-REG
                                                     )               CHAPTER 7
                                                     )
                                                     )
     DEBTOR.


                                       CERTIFICATE OF SERVICE

     The undersigned hereby certifies that on June 27, 2019, a true and correct copy of the attached Notice of

Trustee’s Final Report was transmitted electronically through the Bankruptcy Court’s ECF System to the

Bankruptcy Court Clerk, and to the United States Trustee at USTPRegion10.SO.ECF@usdoj.gov, Justin R.

Wall, justin@walllegalservices.com, and was sent via first class United States mail, postage prepaid, to: RYAN

A BRITE, 2528 Hogans Alley, Decatur, IN 46733, and to the creditors and interested parties listed on the

attached sheet.




                                                                   /s/ Yvette Gaff Kleven__________
                                                         Yvette Gaff Kleven, Trustee
                                                         111 West Wayne Street
                                                         Fort Wayne, IN 46802
                                                         Telephone: (260) 407-7077
                                                         ygk@adelspergerkleven.com
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                                 UNITED STATES BANKRUPTCY COURT
                                  NORTHERN DISTRICT OF INDIANA
                                       FORT WAYNE DIVISION

 In re:                                                 §       Case No. 3:17-BK-11735-REG
                                                        §
 RYAN A BRITE                                           §
                                                        §
                                                        §
                                   Debtor(s)            §

                          NOTICE OF TRUSTEE’S FINAL REPORT AND
                             APPLICATION FOR COMPENSATION
                              AND DEADLINE TO OBJECT (NFR)

        Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that Yvette
Gaff Kleven, trustee of the above styled estate, has filed a Final Report and the trustee and the
trustee’s professionals have filed final fee applications, which are summarized in the attached
Summary of Trustee’s Final Report and Applications for Compensation.

        The complete Final Report and all applications for compensation are available for
inspection at the Office of the Clerk, at the following address:

          1300 S. Harrison Street, Fort Wayne, IN 46802

        Any person wishing to object to any fee application that has not already been approved or
to the Final Report, must file a written objection within 21 days from the mailing of this notice,
together with a request for a hearing and serve a copy of both upon the trustee, any party whose
application is being challenged and the United States Trustee. If no objections are filed, the
Court will act on the fee applications and the trustee may pay dividends pursuant to FRBP 3009
without further order of the Court.

Date Mailed:       06/27/2019                               By: /s/ Yvette Gaff Kleven
                                                                Trustee
Yvette Gaff Kleven
111 W. Wayne Street
Fort Wayne, IN 46802




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                                     UNITED STATES BANKRUPTCY COURT
                                      NORTHERN DISTRICT OF INDIANA
                                           FORT WAYNE DIVISION

    In re:                                                              §           Case No. 3:17-BK-11735-REG
                                                                        §
    RYAN A BRITE                                                        §
                                                                        §
                                                                        §
                                     Debtor(s)                          §

                                  SUMMARY OF TRUSTEE’S FINAL REPORT
                                  AND APPLICATIONS FOR COMPENSATION

             The Final Report shows receipts of                                                                                     $2,468.23
             and approved disbursements of                                                                                             $81.23
             leaving a balance on hand of1:                                                                                         $2,387.00


             Claims of secured creditors will be paid as follows: NONE



                                                    Total to be paid to secured creditors:                                              $0.00
                                                                     Remaining balance:                                             $2,387.00

             Applications for chapter 7 fees and administrative expenses have been filed as follows:

Reason/Applicant                                                                      Total                Interim                    Proposed
                                                                                  Requested             Payments to                   Payment
                                                                                                              Date
Yvette Gaff Kleven, Trustee Fees                                                       $617.06                      $0.00                $617.06
Yvette Gaff Kleven, Trustee Expenses,                                                  $155.20                      $0.00                $155.20
Expenses
Adelsperger & Kleven, LLP, Attorney for                                                $192.50                      $0.00                $192.50
Trustee Fees


                         Total to be paid for chapter 7 administrative expenses:                                                      $964.76
                                                            Remaining balance:                                                      $1,422.24

       Applications for prior chapter fees and administrative expenses have been filed as
follows: NONE



1
  The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest earned prior to disbursement will be
distributed pro rata to creditors within each priority category. The trustee may receive additional compensation not to exceed the maximum
compensation set forth under 11 U.S.C. § 326(a) on account of disbursement of the additional interest.
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                 Total to be paid to prior chapter administrative expenses:                  $0.00
                                                       Remaining balance:                $1,422.24

       In addition to the expenses of administration listed above as may be allowed by the
Court, priority claims totaling $1,380.49 must be paid in advance of any dividend to general
(unsecured) creditors.

         Allowed priority claims are:

Claim         Claimant                                Allowed Amt.          Interim       Proposed
No.                                                        of Claim      Payments to      Payment
                                                                               Date
           2 Indiana Department of Revenue                 $1,380.49           $0.00      $1,380.49


                                        Total to be paid to priority claims:             $1,380.49
                                                       Remaining balance:                   $41.75

        The actual distribution to wage claimants included above, if any, will be the proposed
payment less applicable withholding taxes (which will be remitted to the appropriate taxing
authorities).

        Timely claims of general (unsecured) creditors totaling $9,252.88 have been allowed and
will be paid pro rata only after all allowed administrative and priority claims have been paid in
full. The timely allowed general (unsecured) dividend is anticipated to be 0.5 percent, plus
interest (if applicable).

         Timely allowed general (unsecured) claims are as follows:

Claim         Claimant                                Allowed Amt.          Interim       Proposed
No.                                                        of Claim      Payments to       Amount
                                                                               Date
           1 Central Soya Federal Credit Union             $7,474.54           $0.00         $33.73
           3 Verizon                                         $790.06           $0.00           $3.56
           4 LVNV Funding, LLC                               $988.28           $0.00           $4.46


                       Total to be paid to timely general unsecured claims:                 $41.75
                                                       Remaining balance:                    $0.00

        Tardily filed claims of general (unsecured) creditors totaling $8,342.60 have been
allowed and will be paid pro rata only after all allowed administrative, priority and timely filed
general (unsecured) claims have been paid in full. The tardily filed claim dividend is anticipated
to be 0.0 percent, plus interest (if applicable).

         Tardily filed general (unsecured) claims are as follows:

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Claim         Claimant                                 Allowed Amt.           Interim            Proposed
No.                                                         of Claim       Payments to            Amount
                                                                                 Date
           5 Dyck-O'Neal, Inc.                               $8,342.60             $0.00              $0.00


                 Total to be paid to tardily filed general unsecured claims:                        $0.00
                                                        Remaining balance:                          $0.00

        Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
ordered subordinated by the Court totaling $130.00 have been allowed and will be paid pro rata
only after all allowed administrative, priority and general (unsecured) claims have been paid in
full. The dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus
interest (if applicable).

       Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
ordered subordinated by the Court are as follows:

Claim         Claimant                                 Allowed Amt.           Interim            Proposed
No.                                                         of Claim       Payments to            Amount
                                                                                 Date
         2a Indiana Department of Revenue                      $130.00             $0.00              $0.00


                                  Total to be paid for subordinated claims:                         $0.00
                                                        Remaining balance:                          $0.00




                                          Prepared By: /s/ Yvette Gaff Kleven
                                                       Trustee

Yvette Gaff Kleven
111 W. Wayne Street
Fort Wayne, IN 46802




STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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Aargon Collection Agen                            Adams Circuit Court                             Adams County Treasurer
8668 Spring Mountain Rd                           PO Box 610                                      313 West Jefferson Street
Las Vegas, NV 89117                               Decatur, IN 46733                               Decatur IN 46733




Adams Superior Court                              Armond Law Group                                Balance
112 S 2nd St                                      8668 Spring Mountain Road, Suite 101            1655 Grant Street Suite 1300
Decatur, IN 46733                                 Las Vegas, NV 89117                             Concord, CA 94520




Capital One                                       Central Loan Admin & R                          Central Soya Fcu
P.O. Box 30285                                    425 Phillips Blvd                               1202 S 13th St
Salt Lake City, UT 84130-0285                     Ewing, NJ 08618                                 Decatur, IN 46733




Central Soya Federal Credit Union                 Convergent Outsourcing Inc.                     Credit Acceptance
1200 N. 2nd Street                                800 SW 39th St.                                 25505 W. Twelve Mile Road
Decatur, IN 46733                                 Renton, WA 98057                                Ste. 3000
                                                                                                  Southfield, MI 48034




Credit Coll                                       Dyck-O'Neal, Inc.                               Indiana Department of Revenue
725 Canton St                                     P.O. Box 601549                                 Bankruptcy Section - MS 108
Norwood, MA 02062                                 Dallas, TX 75360                                100 North Senate Avenue, N240
                                                                                                  Indianapolis IN 46204




Jack Morris                                       Kay Jewelers                                    Lvnv Funding Llc
4666 West Jefferson Blvd                          375 Ghent Rd                                    Po Box 10497
STE 190                                           Fairlawn, OH 44333                              Greenville, SC 29603
Fort Wayne, IN 46804




LVNV Funding, LLC its successors and assigns as   Manley Deas Kochalski LLC                       Mendi Brite
assignee of FNBM, LLC                             PO Box 441039                                   Unknown
Resurgent Capital Services                        Indianapolis, IN 46244
PO Box 10587
Greenville, SC 29603-0587



Nationstar Mortgage                               Stenger & Stenger                               Summit Acct
350 Highland Drive                                2618 East Paris Ave SE                          4911 Illinois Rd
Lewisville, TX 75067                              Grand Rapids, MI 49546                          Fort Wayne, IN 46804




Syncb/Care Credit                                 Synchrony Bank                                  Verizon
PO Box 965036                                     c/o PRA Receivables Management LLC              by American InfoSource LP as agent
                                                  PO Box 41021                                    4515 N. Santa Fe Ave
                                                  Norfolk, VA 23541                               Oklahoma City, OK 73118




Verizon Wireless
Po Box 650051
Dallas, TX 75265
